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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


v.
                                                            Case No. 1:21-cr-00638
                                                            Judge Timothy J. Kelly
GILBERT FONTICOBA

                      DEFENDANT.

                                             /

                                    [PROPOSED] ORDER

       This matter having come before this Court on a Motion for Admission Pro Hac Vice and,

IT APPEARING TO THE COURT THAT:

       Mr. Aubrey Webb meets all the requirements of LCrR 44.1 (d), is a member in good

standing of the Florida Bar, the U.S. District Court for the Southern District of Florida, and the

United States Court of Appeals for the Eleventh Circuit,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       Mr. Aubrey Webb be permitted to serve as pro hac vice counsel for the defendant Gilbert

Fonticoba in the above-captioned matter.

SO ORDERED.



________________                                    _____________________________
      Date                                          Timothy J. Kelly
                                                    United States District Judge
